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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA

               v.                                    Cr. l:10-53-01-JD            "'LED
RONALD YOUNG

                                  ORDER OF FORFEITURE

       1.      The defendant, Ronald Young, has pleaded guilty to count One, contained in the

Indictment, Conspiracy to Distribute Marijuana in excess of 1000 kilograms, in violation of 21

U.S.C. §§ 841(a)(1), (b)(l)(A)(vii), and 846. The Indictment included a Notice of Forfeiture

predicated upon violations of 21 U.S.C. §§ 841(a)(1), (b)(l)(A)(vii), and 846, Conspiracy to

Distribute Marijuana in excess of 1000 kilograms, seeking a money judgment equal to the

amount of proceeds obtained as a result of the offense. As part of the written plea agreement in

this case, the defendant has agreed to a personal money judgment against the defendant, pursuant

to Fed.R.Crim.P. 32.2(b)(1), in the amount of no less than $4,000,000, and no greater than

$10,000,000, the exact amount to be determined at the time of sentencing. The United States and

the defendant have agreed to a money judgment in the amount of $4,000,000.

       2.      The United States has requested that this Court enter an Order of Forfeiture which

would consist of a personal money judgment against the defendant in the amount of $4,000,000.

       3.      Federal Rules of Criminal Procedure 32.2(c)(1) provides that "no ancillary

proceeding is required to the extent that the forfeiture consists of a money judgment."

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the defendant, Ronald

Young, shall forfeit to the United States the sum of $4,000,000.
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       IT IS FURTHER ORDERED that pursuant to Fed. R. Crim. P. 32.2(b)(3), this Order of

Forfeiture shall become final as to the defendant at the time of his sentencing, and shall be made

part of the sentence and included in the judgment.

       IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to

Fed. R. Crim. P. 32.2(e) to amend this Order of Forfeiture to include substitute property having a

value not to exceed $4,000,000 to satisfy the money judgment in whole or in part; and

       IT IS FURTHER ORDERED that in accordance with 21 U.S.C. § 853(m) and Fed. R.

Crim. P. 32.2(b)(2), the United States is authorized to undertake whatever discovery may be

necessary to identify, locate or dispose of substitute assets to satisfy the money judgment.

       The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to the provisions of Fed. R. Crim. P. 32.2(e).

       The Clerk shall send copies of this Order of Forfeiture to the United States Probation

Office and counsel for all parties, and shall send two Certified Copies of this Order of Forfeiture

to the United States Attorney's Office, Attention: Assistant U.S. Attorney Debra M. Walsh.

Entered this <£       day of OCMfe*-*.               2011.




                                           VJJNITCD STATES DISTRICT JUDGE V^
